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                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                         MAR 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
RJ, as the representative of her beneficiary     No. 24-1028
son, and on behalf of all others similarly
                                                 D.C. No.
situated and SJ, Behavioral Health Patient,      5:20-cv-02255-EJD
                                                 Northern District of California,
             Plaintiffs - Petitioners,           San Jose
 v.                                              ORDER

CIGNA HEALTH AND LIFE
INSURANCE COMPANY and
MULTIPLAN, INC.,

             Defendants - Respondents.

Before: VANDYKE and MENDOZA, Circuit Judges.

      The petition for permission to appeal is denied. See Fed. R. Civ. P. 23(f);

Chamberlan v. Ford Motor Co., 402 F.3d 952, 959-60 (9th Cir. 2005) (describing

factors this court considers in analyzing a Rule 23(f) petition).
